Case 1:19-cv-12536-DJC Document 64 Filed 03/19/20 Page 1of5

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

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In re IROBOT CORPORATION SECURITIES :
LITIGATION :
we ee ee ee eee nn eee eee x Master File No.: No. 1:19-12536-DJC
This Document Relates To: CLASS ACTION
ALL ACTIONS

JOINT-MOTION-FOR ORDER MODIFYING SCHEDULING ORDER

Pursuant to Federal Rule of Civil Procedure 6(b)(1)(A), Lead Plaintiff Carpenters
Annuity Trust Fund for Northern California and Carpenters Pension Trust Fund for Northern
California (“Lead Plaintiff’) and Defendants iRobot Corporation, Colin M. Angle, and Alison
Dean (“Defendants,” and together with Lead Plaintiff, the “Parties”) respectfully file this Joint
Motion seeking an eleven-day extension of the deadlines for Lead Plaintiff to file an Amended
Complaint, up to and including Apri! 3, 2020, and for Defendants to move, answer, or otherwise
respond to the Amended Complaint (including any related briefing deadlines). In support
thereof, the Parties state as follows:

I. This is a complex consolidated securities fraud class action involving, inter alia,
allegations pertaining to the results, operations, and finances of a multinational corporation and
whether certain statements made during a period of several years complied with Sections 10(b)
and 20(a) of the Securities and Exchange Act of 1934. See ECF No. 1.

2. On January 24, 2020, the Court appointed Lead Plaintiff and Lead Counsel in this
Consolidated Action. ECF No. 52.

3, On February 6, 2020, the Parties filed a Proposed Schedule, which the Court so-

ordered on February 12, 2020, setting the following deadlines:
Case 1:19-cv-12536-DJC Document 64 Filed 03/19/20 Page 2 of 5

A. Lead Plaintiff shall file and serve an Amended Complaint on or before
March 23, 2020;

B. Defendants shall move, answer, or otherwise respond to the Amended
Complaint on or before May 8, 2020;

C. If Defendants file a motion to dismiss the Amended Complaint, Lead
Plaintiff shall file and serve any opposition on or before June 22, 2020;
and

D. Defendants shall file and serve any reply on or before July 22, 2020.
See ECF No. 62.

4, Since Lead Plaintiffs appointment, the Commonwealth of Massachusetts! and the
State of New York’ recently have declared a public emergency in each state concerning the rapid
spread of the coronavirus (“COVID-19”), which the World Health Organization declared a
pandemic on March 11, 2020. Likewise, the President of the United States has now declared a
national emergency in response to COVID-19. Accordingly, federal and state authorities have
ordered strict “social distancing” preventative measures to contain or slow the spread of COVID-
19, including the closing of public and private schools, the cancellation of virtually all events
involving large public gatherings, and the recommendation that all businesses work remotely
wherever feasible.

5. As a result of these public health emergencies, the undersigned Liaison Counsel
and Lead Counsel represent that they were forced to vacate their offices starting on March 13
and March 16, 2020, respectively, and continuing indefinitely. The attorneys and staff for Lead

Counsel and Liaison Counsel are now working remotely from home and continuing to diligently

 

' See In re: Coronavirus Pub. Emergency, Gen. Order 20-2 (D. Mass. March 12, 2020) (Saylor,
C.J.), available at

http://www.mad.uscourts.gov/general/pdf/03 1220%20FDS%20General%200rder%2020-2%20-
%20Coronavirus%20administrative%20order%20regarding%20jury%20trials%20and%20procee
dings.pdf.

2 Exec. Order No. 202, Declaring a Disaster Emergency in the State of New York (Mar. 7, 2020),
available at https://www.governor.ny.gov/sites/governor.ny.gov/files/atoms/files/EO_202.pdf.

2
Case 1:19-cv-12536-DJC Document 64 Filed 03/19/20 Page 3 of 5

prosecute the Class’s claims. The undersigned Liaison Counsel and Lead Counsel represent that
the substantial disruptions caused by the ongoing COVID-19 public health emergency, including
counsel’s unanticipated office closures, have caused significant logistical issues related to Lead
Plaintiff's investigation and drafting of the claims alleged in the forthcoming Amended
Complaint.

6. As a result of the disruptions caused by the existing COVID-19 public health
emergency, and in order to fulfill their obligations to Lead Plaintiff and the Proposed Class, Lead
Counsel respectfully requests a short extension of eleven (11) days of the deadline to file the
Amended Complaint, from March 23, 2020 to April 3, 2020. Defendants’ time to respond to the
Amended Complaint would remain the same but the deadline would also be moved by eleven
(11) days to May 19, 2020 (with concurrent extensions of Lead Plaintiff's opposition to any
motion to dismiss, and Defendants’ reply in further support of any motion to dismiss).

7. This extension of time is being made in good faith and is not being made for
dilatory purposes. No parties will be prejudiced by the granting of this request.

8. Lead Counsel has conferred with Defendants’ counsel regarding this request, and
Defendants agree to this brief extension.

WHEREFORE, the Parties respectfully request the Court grant this Joint Motion to

modify the deadlines in the Court’s February 12, 2020 Scheduling Order as follows:
Case 1:19-cv-12536-DJC Document 64 Filed 03/19/20 Page 4of5

A. Lead Plaintiff shall file and serve an Amended Complaint on April 3,

2020;

B. Defendants’ shall move, answer, or otherwise respond to the Amended
Complaint on May 19, 2020;

C. If Defendants file a motion to dismiss the Amended Complaint, Lead
Plaintiff shall file and serve any opposition on July 3, 2020; and

D. Defendants shall file and serve any reply on August 3, 2020.

Dated: March 18, 2020

/s/ James W. Johnson

James W. Johnson (admitted pro hac vice)
Michael H. Rogers (admitted pro hac vice)
Irina Vasilchenko (admitted pro hac vice)
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Respectfully submitted,

/s/ James R. Carroll

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Counsel for Defendants
iRobot Corporation, Colin M. Angle
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Case 1:19-cv-12536-DJC Document 64 Filed 03/19/20 Page 5of5

SO ORDERED:

Dated: GN cM VA , 2020

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Denise J. Casper \

United States District Judge
